Estate of Frank K. Sullivan, Deceased, by Floyd K. Sullivan, Executor, Petitioner, v. Commissioner of Internal Revenue, RespondentSullivan v. CommissionerDocket No. 12476United States Tax Court10 T.C. 961; 1948 U.S. Tax Ct. LEXIS 176; May 27, 1948, Promulgated *176 Decision will be entered for the respondent.  1. Held, on the facts, that division of the joint estate of decedent and wife into tenancy in common and transfer to their son were in contemplation of death.2. The division of joint estate into tenancy in common, held, not a bona fide sale for adequate and full consideration in money or money's worth, within section 811 (c), Internal Revenue Code.3. Held, that the properties transferred originally belonged to the decedent and not to his wife, within section 811 (e) (1), Internal Revenue Code; held, further, that a withdrawal of money by the wife from a joint bank account shortly before decedent's death did not remove the amount from his estate.  Philip C. Jones, Esq., and Albert Mosher, Esq., for the petitioner.Douglas L. Barnes, Esq., for the respondent.  Disney, Judge.  DISNEY*962  This proceeding involves a deficiency of $ 18,963.17 in estate tax. The issue is whether certain property, consisting of United States savings bonds and other securities, real estate, and the amount of a check, is includible in the gross estate of the decedent. The facts set forth in a stipulation are so found, and will be included in the findings of fact made from other evidence.FINDINGS OF FACT.The petitioner is the estate of Frank K. Sullivan, who died testate on January 9, 1944, a resident of California.  His son, Floyd K. Sullivan, was executor, and he was discharged as executor on June 4, 1945.  The estate tax return for the estate of the decedent, disclosing no tax liability, was filed with the collector for the sixth district of California.  The decedent was born April 6, 1866, and was 77 years of age at the time of his death.  He and Hattie B. Sullivan, who was born in 1867, were married in Minneapolis, Minnesota, *179  in 1892, and remained husband and wife until the death of the decedent.The decedent was the sole owner of a coal business in Minneapolis for many years prior to 1918, in which year he sold the business for $ 100,000.  He invested the proceeds in California in income-producing property, including apartment houses, mortgages, and trust deeds, prior to and after 1922, when he and his wife moved to California.  Thereafter until their respective deaths they continuously resided and were domiciled in California.  During his residence in California, the decedent was not employed and did not engage in any business other than to look after his investments.In 1930 the decedent purchased a lot in Beverly Hills, California, and, after improving it with a house, gave the property to Floyd K. Sullivan, his only son, and the son's wife.  In 1931 Floyd K. Sullivan became a member of a partnership to engage in the general brokerage business, without an investment.  The decedent deposited securities of a value of about $ 25,000 with a bank for use by the partnership as collateral in connection with sales and purchases.  The partners sustained losses in the operation of the business.  About 1933 Floyd*180  K. Sullivan and his wife borrowed $ 7,500, secured by a mortgage on the property they had acquired by gift from the decedent. The money was borrowed to pay household expenses and deficits incurred in the operation of the brokerage business. The firm was dissolved in *963  August 1934.  The loss of Floyd K. Sullivan was about $ 12,000, in settlement of which he and his wife conveyed to the decedent and his wife a duplex house of a value of about $ 7,500, which had been inherited by Floyd's wife.In 1943 Floyd K. Sullivan was 44 years of age, was married, and had one child, a daughter 13 years old.  He still owned the home acquired by gift from his father, subject to a mortgage of about $ 7,500, on which he had been making payments for 10 years.  In 1943 he was employed by Nelson Douglass &amp; Co., a securities brokerage firm in Los Angeles.  His earnings in 1940 were $ 3,425; in 1941, $ 2,768; in 1942, $ 4,481; and in 1943, $ 5,221.In 1943 the decedent and his wife informed their son of their desire to make a gift to him to make payments on a mortgage on his home and to make it easier for him to meet his other obligations.  He suggested that they consult Clyde C. Triplett, an attorney*181  in Los Angeles, specializing in tax matters, which they, accompanied by their son, did, on September 27, 1943, for the purpose of ascertaining the rates of taxation on gifts. They informed the attorney that all of their property was owned as joint tenants and that they had in mind a gift of about $ 33,000 to augment their son's income.  The decedent also informed Triplett that he had made his money in the coal business in Minneapolis and in response to a question of Triplett said that he was worth less at that time than when he came to California.  Counsel advised them to prepare a list of the property they owned and select therefrom the property for gift to their son.  During the meeting the decedent and Triplett discussed golf at some length, during the course of which decedent informed him that he played to improve his game.A list of the property held by the decedent and his wife was furnished Triplett in accordance with his request.  Counsel then suggested that the securities be delivered to him.  Some of the securities were turned over to Triplett by the decedent and his wife about the middle of October 1943, when the decedent informed Triplett that the other documents would*182  be delivered as soon as he could locate them, and that he and his wife had not decided upon the items of property for gift to their son.The decedent and his wife made an appointment to consult Triplett on November 9, 1943, and during the course of the meeting on that date they informed him of the securities they had decided to give to their son.  At that time they left with Triplett the remainder of their evidence of ownership of property, and it was ascertained that one parcel of real property was not held in joint tenancy. Triplett informed the decedent at the meeting that it was not a good idea for him to hold his property as a joint tenant; that their property was not and *964  never had been community property; and that upon the death of one joint tenant the property passed to the survivor and was includible in the gross estate of the decedent. He told them that it was advisable to terminate the joint tenancies and divide the property between them as tenants in common or divide in kind such property as could be so divided, and expressed the opinion that the transaction would be a nontaxable exchange; that the tax saving would not be very much; that it would involve additional*183  probate expenses; and that thereafter one-half of the property would be in the wife's estate.  Thereafter the decedent informed Triplett that he and his wife thought that his advice was sound and requested him to prepare the necessary legal documents to convert title to the property into tenancies in common.Triplett requested Floyd K. Sullivan to prepare a letter addressed to Nelson Douglass &amp; Co., directing it to transfer from the account of the decedent and his wife to the name of Floyd K. Sullivan the securities the parents had decided to give to their son, and to state therein that the securities were being transferred as a gift. Such a letter, bearing the date November 19, 1943, was prepared and signed by the petitioner and his wife.  The twelve securities listed in the letter for transfer as a gift had a market value on January 9, 1944, of $ 33,526.54.  Six of the securities, of a market value of $ 12,340.63, were in the name of the decedent, and the remainder, except bearer form bonds of the Gulf, Mobile &amp; Ohio Railway Co., having a market value on January 9, 1944, of $ 10,077.78, including interest of $ 77.78, and which were in the possession of the decedent and his wife, *184  were in his and his wife's name.  Forty units of Southwestern Freight Lines stock which were included in the transfer were in the form of nonnegotiable escrow receipts, issued in connection with a voting trust.  All of the securities were received by the broker on November 16, 1943, except the bearer form bonds, which it received on December 14, 1943, for the account of Floyd K. Sullivan.  The stock certificates were reissued in November or December 1943 in the name of Floyd K. Sullivan, except 40 units of Southwestern Freight Lines stock, which were reissued in his and his wife's name as joint tenants on March 15, 1944, when the transfers could be made.  No part of the value of the securities transferred to the son was included in the gross estate of decedent by the executor. The entire value was included in gross estate by respondent in his determination of the deficiency.The decedent was very rugged and active, and was in good physical condition for a man of his age.  He played golf with his son about every week and did not complain to him about the condition of his health prior to the middle of November 1943.  He had no serious illness prior to his fatal illness.  He was a heavy*185  smoker of cigars and never spoke of his ailments, if he had any.*965  The decedent was examined by Dr. Julius Kahn on November 18, 1943.  He informed the physician that he had felt quite well until 3 weeks before that time and complained about jaundice he had noticed 2 or 3 days previously, loss of 15 pounds of weight during the previous year, 8 to 10 pounds of which were during the past 2 months, and an abdominal pain that began 4 or 5 days previously but left after a few days.  The decedent was admitted to a hospital on November 21, 1943, for further examination and remained there for 3 days, when he was sent home to return later for completion of work.  The diagnosis of Dr. Kahn from examinations made in the hospital was obstructive jaundice, probable cancer of the pancreas. Dr. Kahn discharged the decedent as a surgical case.  The decedent's wife was not informed of the diagnosis made by Dr. Kahn.On November 24, 1943, a short time before the decedent left the hospital, his son inquired of Triplett by phone from the hospital whether he had prepared documents for the transfer of property of his parents, and upon being informed that they were ready for signature, requested*186  that Triplett take the papers to the Bonnie Lee Apartments, which were owned by a corporation of which the decedent was president and principal stockholder (but in which the decedent did not reside), for execution.  Triplett complied with the request.  Among the legal documents executed and delivered at that time was a contract between the decedent and his wife.The contract executed by the decedent and his wife on November 24, 1941, recites that substantially all of their property was held as joint tenants and that they desired to terminate such ownership and divide the property so that each would own as his or her separate property, free of claims of the other, approximately one-half thereof.  The contract then provided, with recited assignments to make it effective, that on and after the date it bore the real and personal property owned by them, whether held as joint tenants or in his or her own name, would be owned by them by undivided one-half interests as separate property.  Some of the property was specifically referred to as covered by the agreement and consisted of (1) four parcels of real estate; (2) five promissory notes, secured by trust deeds; (3) $ 50,000 face amount*187  of United States savings bonds, series G; (4) bonds of the Chicago City Railway of a face value $ 4,000; (5) three blocks of corporate stock, including stock of the Union Trusteed Funds, Inc.  The agreement also covered furniture, fixtures, and household goods.Deeds and assignments were executed on the same day to convey and transfer the real property and notes.  The deeds were recorded on December 6 or December 9, 1943.  The agreement provided for registration of the corporate bonds and the reissuance of the stock in the names of the respective transferors, one-half in each.  On account of an oversight on the part of Floyd K. Sullivan, no transfer *966  of record was made of Chicago City Railway bonds or stock of the Union Trusteed Funds, Inc., until after the death of the decedent, when transfers were effected in accordance with the decree of distribution and the agreement of November 24, 1943, by issuing the securities to the decedent's wife, one-half as life tenant. The decedent and his wife had surrendered their stock in connection with dissolution proceedings of the other two corporations, and no transfer of record of the stock was made.  Upon the liquidation of the corporations, *188  one-half of the liquidating dividend was paid to the estate of decedent and the other half to decedent's wife, in accordance with the agreement of November 24, 1943.  The division of the property on November 24, 1943, was the result of suggestions made by Triplett.Prior to the execution of the agreement of November 24, 1943, all of the real estate, except one parcel which was held in the name of the decedent, notes, bonds, stock, and furniture and fixtures, was held in joint tenancy by the decedent and his wife.  The registered ownership of the savings bonds was not subject to transfer and at all times prior to the death of decedent was held in the joint names of decedent or his wife.  After the death of the decedent the savings bonds were redeemed and one-half of the proceeds and accrued interest was retained by petitioner and the remainder paid to the survivor.One-half of the value of the real estate, notes, bonds and stock, furniture, fixtures, and household goods was included in the gross estate of decedent by the executor. In his determination of the deficiency the respondent included the other half of the value of the property in gross estate, the agreed value for such interests*189  being $ 25,013.80 for the savings bonds and $ 35,348.75 for the other assets.After the various documents were executed on November 24, 1943, Triplett suggested to the decedent and his wife that they permit him to examine their wills, under which each left his or her property to the other.  He expressed to them the opinion that their wills should each leave a life estate in their property to the survivor with the remainder over to their son, as such a plan might avoid a subsequent probate proceeding and tax expense.  The decedent did not like the idea, saying that if his wife predeceased him he could look after his own affairs.  On that date the decedent informed Triplett that the doctors thought he had something wrong with his gall bladder, but he thought they did not know "what they were talking about."New wills were drafted by Triplett for the decedent and his wife and were executed on November 30, 1943.  The will of decedent left all of his property to his wife for life, with a remainder interest to his son.  In the event his wife predeceased him, all of his property was to go to his son.  Provision was also made for the disposition of his property in the event both his wife *190  and his son predeceased *967  him.  The will of decedent's wife did not contain a provision to give the decedent a life estate in her property.On December 20, 1943, decedent's wife drew a check for $ 2,400 on a bank account in her and decedent's joint names and thereafter deposited it in a separate account in her name in another bank.  No part of the amount of the check was included in the gross estate by the executor. All of the amount of the check was included in gross estate by the respondent.Floyd K. Sullivan did not know that his father had been discharged from the Cedars of Lebanon Hospital with a recommendation of surgery.  On about December 6, 1943, he took his father to Dr. H. G. McNeil for further examination and treatment.  The physician prescribed hot packs for the abdominal region.  On about December 15, 1943, the physician decided that an operation was necessary and the decedent was admitted to a hospital on December 16, 1943, for an operation for carcinoma of the pancreas. An operation performed on December 20, 1943, confirmed the preoperative diagnosis.  A second operation was performed on January 3, 1944, in connection with the same ailment.  Thereafter Dr. *191  McNeil, for the first time, informed Floyd K. Sullivan and his mother that the decedent had cancer of the pancreas. The decedent died in the hospital on January 9, 1944.  The death certificate gives carcinoma of the pancreas as the immediate cause of death.Pursuant to a court decree, a life interest in the estate of the decedent was distributed to his widow and the remainder interest to his son.  The widow died December 18, 1946, and all of the assets of the decedent's estate are now vested in the son under the terms of the decedent's will.The transfers made on November 19, 1943, and November 24, 1943, were made in contemplation of death, and the latter was not a bona fide sale for an adequate and full consideration in money or money's worth.OPINION.In his determination of the deficiency the respondent included the value of the property involved in the gift to the son on November 19, 1943, and in the agreement of November 24, 1943, between the decedent and his wife, in decedent's gross estate as transfers made in contemplation of death.  The notice of deficiency also recited that one-half of the value of the United States savings bonds, amount $ 25,013.80, including interest, *192  which was not included in the estate tax return by petitioner, was included in the gross estate under the provisions of section 811 (e) of the Internal Revenue Code.The contentions of the petitioner are, in substance, that the transfers were not made in contemplation of death; that the property transferred *968  to the son was held as joint tenants and, accordingly, if the transfer was made in contemplation of death, only one-half of the value thereof is includible in gross estate under section 811 (c); that the remaining property was held, at death, as tenants in common, pursuant to the provisions of the agreement executed on November 24, 1943, with the result that only one-half of the value thereof is subject to tax, and that if the transfer was made in contemplation of death, it was made for an adequate and full consideration in money or money's worth.  The parties have agreed upon the value of the property involved in the transfers.The primary question is whether the transfers were made in contemplation of death.  Aside from the statutory presumption raised by section 811 (c), which petitioner asserts for specified reasons is not applicable, the petitioner had the burden*193  of showing the respondent's action to be erroneous.Contemplation of Death.Gift to Son.Concerning the transfers on November 19, 1943, the petitioner contends that the dominant motive was associated with life, rather than death, and, accordingly they fall without the statute.  The motive relied upon was a desire to supplement the property of the donee in order to give him, during the donor's lifetime, income to meet financial obligations.The evidence contains no record of unusual generosity on the part of decedent towards his son, his only child, particularly in view of his financial standing.  He had $ 100,000 in cash when he took up a domicile in California in 1922, and his son was 23 years old.  In 1930, the year of birth of decedent's granddaughter, the decedent had a house built on a lot and gave it to his son.  The value of the gift is not shown.  The next year the son entered the brokerage business with a partner.  Such financial assistance as decedent gave his son in the new venture consisted of a loan of securities for use by the firm as collateral.  Upon the dissolution of the firm in 1934, the son and his wife conveyed to his parents, in settlement of a debt of*194  about $ 12,000, a house of a value of about $ 7,500, which the son's wife had inherited.  The loan and its partial repayment by the means taken are opposed to the idea that the decedent had a desire at that time to share his wealth with his son for purposes associated with his own life.  Without more facts on the point, we can not infer that the decedent intended the difference between the value of the property conveyed and the amount of the indebtedness to him as a gift to his son.There is no evidence of other gifts or financial assistance of any kind to the son, despite operation losses in the brokerage business, until the transfers in issue.  The donee testified that his parents informed him *969  that they desired to make the transfers to help him meet his financial obligations.  Later, in September 1943, decedent's wife informed counsel being consulted concerning the matter that the purpose of the gift was to provide their son with additional income.  It does not appear that his need for financial help at that time differed substantially from prior years.  In fact, his earnings in 1943 were $ 740 in excess of income the previous year and almost double his earnings for 1941. *195  From this whole record we are constrained to believe that the decedent was inclined to deal with his son on a business basis, until shortly before his death.  Certainly the conveyance of the property inherited by his daughter-in-law to decedent about 1934, when the son was rather apparently in worse financial condition than in 1943, was a cold business matter.The amount involved here was not small.  The property had a value on January 9, 1944, of $ 33,526.54, which is about 20 per cent of decedent's gross estate as returned by petitioner and adjusted by the respondent.  The transfer of such a proportion of the total wealth of the decedent, under all the circumstances here, indicates a purpose associated with death instead of life.Transfers Nov. 24, 1943.Petitioner contends that these transfers merely severed joint tenancies and created tenancies in common and, therefore, were not made in contemplation of death.  The transaction had its inception in advice given the transferors by counsel on November 9, 1943, that it was against their interests to hold property as joint tenants, and, in effect, that if the property were held as tenants in common there would be less value of *196  property for inclusion in gross estate upon the death of the decedent. The action taken manifests a desire of decedent to so arrange all of his property interests as to reduce death taxes.  It seems to have been the controlling motive and had a direct relation with what would happen to his property upon death.  It has been held under similar circumstances that the transfers were made in contemplation of death.  First Trust &amp; Deposit Co. v. Shaughnessy, 134 Fed. (2d) 940; Commonwealth Trust Co. of Pittsburgh v. Driscoll, 50 Fed. Supp. 949; affd., 137 Fed. (2d) 653; Vanderlip v. Commissioner, 155 Fed. (2d) 152, affirming 3 T. C. 358. In Allen v. Trust Co. of Georgia, 326 U.S. 630"&gt;326 U.S. 630, the Court said, with respect to the leading case, United States v. Wells, 283 U.S. 102"&gt;283 U.S. 102, that "the statute is satisfied, it is said, where for any reason the decedent becomes concerned about what will happen to his property at his death and as a result takes action to control or in *197  some manner affect its devolution."*970  The decedent enjoyed good health for a man of his age until the development of a cancer at a time not disclosed by the record.  He started to lose weight a year before the transfers and lost from eight to ten pounds during a period of two months before November 18, 1943, on which date he consulted a physician for the first time about the condition of his health.  At that time he had not felt well for about three weeks and had had jaundice for two or three days.  Whether the consultation occurred after or before he requested counsel to draft documents for the transfers does not appear in the evidence and we may not assume that the request preceded the visit to the doctor.  In any event, the transfer papers had not been executed and the decedent signed them at the earliest possible time after his discharge, on November 24, 1943, from confinement in a hospital for three days for a more complete examination of his physical condition.The experience the decedent was undergoing was unusual for him and constituted logical grounds for becoming apprehensive about its outcome, particularly in view of his age and past good health.  The cancerous condition*198  then existing caused his death less than two months later.  It does not appear from the evidence whether he knew he had a cancer.Further discussion of the point would serve no useful purpose.  Our conclusion is that the petitioner has failed to establish error in the action of respondent in treating the transfers, both to his son and to his wife by severance of joint tenancy, as having been made in contemplation of death.Consideration for Transfers on Nov. 24, 1943.Section 811 (c) of the code excludes from its general provisions, transfers made in "a bona fide sale for an adequate and full consideration in money or money's worth." Is the transaction here involved to be therefore excepted, though found to be in contemplation of death?  We do not, in the first place, find here the characteristics of a bona fide sale in the transaction.  The transfers, as already pointed out, had their inception in a desire, obviously mutual, to lessen death duties while contemplating death.  No bargaining at arms' length, or otherwise, appears.  The petitioner concedes that the interest of the survivor was acquired by her in the first instance by a gift from the decedent. Neither does it appear*199  that either party gave any thought to whether he or she was receiving value, adequate or inadequate, for property interests transferred. The nature of the transaction and its purpose was one that did not contemplate anything more than reciprocal transfers without regard to consideration of any kind.  It was simply a family arrangement for the protection of their estates, as they regarded them.  Phillips v. Gnichtel, 27 Fed. (2d) 662; Giannini v. Commissioner, 148 Fed. (2d) 285.*971  Moreover, the division of the joint property into interests in common was not sale in the ordinary sense in which we think the statute used the term.  The word "sell," in its ordinary sense, means a transfer of property for a fixed price in money or its equivalent.  United States v. Benedict, 280 Fed. 76, 80, quoted in Hale v. Helvering, 85 Fed. (2d) 819. No price was fixed here.  It will be noted that section 811 (c) does not include "exchange"; and the most that could be said of the division of the joint estates would be that it was in a sense exchange.  Nor*200  was the transaction for the necessary consideration.  Assuming that the division of interests had such reciprocity as to constitute a good consideration between the parties, we think it was not the adequate and full consideration in money or money's worth intended by the statute.  A sale for full adequate consideration in money or its worth would not diminish the estate of the transferor, but leave it in effect the same as before, therefore, such a sale would be unobjectionable to the estate tax law.In Latty v. Commissioner, 62 Fed. (2d) 952, "in money or money's worth" is held to indicate, under section 303 of the Revenue Act of 1924, as to claims against estates, "a consideration, which at the time either augmented the estate of the decedent, granted to him some right or privilege he did not possess before, or operated to discharge a then existing claim * * *.  * * * A 'sale' implies the receipt 'of money or money's worth' as the purchase price of that conveyed -- the continued maintenance of the estate of the vendor at approximately its preexisting value.  A testamentary disposition is in the nature of a bounty and the antithesis of a sale * *201  * *." In Commissioner v. Porter, 92 Fed. (2d) 426, construing section 303 (a) (1) of the Revenue Act of 1926 as to claims, it is held that "adequate and full consideration in money or money's worth" was "to prevent a man from diminishing his taxable estate by creating obligations not meant correspondingly to increase it but intended as gifts or a means of distributing it after his death.  * * *" In Helvering v. Robinette, 129 Fed. (2d) 832, an exchange of promises relative to testamentary disposition was held not to be adequate and full consideration in money or money's worth within the law of gift tax.  Here it seems clear that for estate tax purposes the decedent's estate was diminished, for he surrendered for the purposes of estate tax law more than he received, because, as the parties have stipulated, in the absence of the transfer here involved the entire joint estate would be taxable under the provisions of section 811 (e), whereas, under the transfer or agreement made he received only a half interest, by tenancy in common, and therefore only that amount would be taxable estate.  The situation is in some respects*202  similar to that in Phillips v. Gnichtel, supra, where it was pointed out that the deceased husband had transferred to his wife, in contemplation of death as here, more *972  than he received from her and that such was not a sale for "fair consideration in money or money's worth" within sections 301 and 302 (c) of the Revenue Act of 1924.  The arrangement was held "to savor more of testamentary disposition than of bargain and sale such as the statute contemplates in relieving a decedent's estate from taxation." In our view the transaction between the decedent and his wife in this matter did not comprise bona fide sale for full and adequate consideration in money or money's worth within section 811 (c), and, therefore, may not be excepted from transfers taxable because in contemplation of death.Interest of Decedent in Property Transferred.Concerning the transfers to the son, petitioner argues that all of the property involved was, in accordance with local law, held as joint tenants, the securities standing in decedent's name alone being such property by reason of investment and reinvestment of like property; therefore, only one-half of the*203  gift was made by the decedent. It is argued that the agreement of November 24, 1943, converted all of their remaining jointly held property into tenancies in common, including the real estate held in decedent's name, and, as title was so held by them at decedent's death, no more than one-half of the value of the property is includible in gross estate.The application of Federal taxing statutes to property interests is not always determined by local law, and the statutory provisions governing the question here are not dependent upon local law.  Tyler v. United States, 281 U.S. 497"&gt;281 U.S. 497; United States v. Pelzer, 312 U.S. 399"&gt;312 U.S. 399; Fernandez v. Weiner, 326 U.S. 340"&gt;326 U.S. 340.In Commonwealth Trust Co. of Pittsburgh v. Driscoll, 50 Fed. Supp. 249; affirmed per curiam, 137 Fed. (2d) 563, the decedent conveyed two parcels of real property, title to which was in his name, to himself and his wife as tenants by the entirety. Later they conveyed the properties to the wife alone.  The court held that the transfers to the wife alone were made in *204  contemplation of death and the value thereof was includible in the decedent's estate, he having purchased the properties with his own funds.In Estate of William Macpherson Hornor, 44 B. T. A. 1136, the decedent conveyed property to himself and his wife as tenants by the entirety. The wife had not contributed anything towards the cost and paid nothing in connection with the conveyance to the entirety. Later, they conveyed the property to themselves and another as trustees, with the right to receive the income therefrom during their joint lives and the life of the survivor and subject to a joint power of revocation and withdrawal of the trust estate during their joint lives.  Later, other property was conveyed to the trust.  We held that the *973  property in trust was includible in gross estate under section 302 (c) of the Revenue Act of 1926, as a transfer in contemplation of death and section 302 (e), on the ground that the trust was ineffective to avoid the provisions thereof.  On appeal, the court found it unnecessary to decide whether any transfer was made in contemplation of death and held that the transfer was within section 302 (e).Section*205  811 (c) taxes at death the value at that time of the property previously transferred in contemplation, as here, of the event.  In Inglehart v. Commissioner, 77 Fed. (2d) 704, the court said:* * * For the purposes of the tax, property transferred by the decedent in contemplation of death is in the same category as it would have been if the transfer had not been made and the transferred property had continued to be owned by the decedent up to the time of his death * * *.To the same effect are In re Kroger's Estate, 145 Fed. (2d) 901; Estate of Nathalie Koussevitsky, 5 T. C. 650, 660, and Estate of William Macpherson Hornor, supra. If we ignore the transfers on the two dates in November 1943, we find decedent holding at death property in his own name and property as joint tenant with his wife.Section 811 (e) (1) provides for inclusion in gross estate of the value of property held as joint tenants by the decedent and any other person "except such part thereof as may be shown to have originally belonged to such other person and never to have been received*206  or acquired by the latter from the decedent for less than an adequate and full consideration in money or money's worth; * * *"The intent of section 811 (e) (1) is to include the full value of joint tenancy property in gross estate to the extent that it or the consideration therefor is traceable to the decedent. Foster v. Commissioner, 90 Fed. (2d) 486; affirmed per curiam, 303 U.S. 618"&gt;303 U.S. 618; United States v. Jacobs, 306 U.S. 363"&gt;306 U.S. 363; Estate of Joseph A. Brudermann, 10 T.C. 560"&gt;10 T. C. 560.Aside from the concession of petitioner that the surviving tenant acquired her interest by gift from the decedent, nothing herein is contrary to the view that the original source of all of the property was the proceeds of the sale, by decedent, of his wholly owned business in 1918.  None of the property or consideration therefor is shown by petitioner to have been contributed by the wife.  Gifts made by a decedent and subsequently contributed by the donee to the joint tenancy with the donor do not serve to remove any of the interest taxable to the decedent. Dimroch v. Corwin, 306 U.S. 363"&gt;306 U.S. 363.*207 Petitioner has failed in his proof that the decedent did not supply all of the property and the consideration therefor.The parties have stipulated that if the decedent had died immediately prior to the execution of the agreement of November 24, 1943, and the making of the gift, all of the property, except that in the name *974  of decedent alone, would have been includible in the gross estate of decedent under section 811 (e) (1) of the code, and that the property standing in his name alone would have been includible in his gross estate under section 811 (e) (1), or 811 (a) of the code.  The transfers did not, under the circumstances here, serve to make the situation any different from what it would have been if the decedent had died immediately before making the gift to his son and executing the agreement on November 24, 1943, with his wife.  Neither did the withdrawal by decedent's wife from a joint bank account on December 20, 1943, of $ 2,400, and the subsequent deposit of the amount in her name in another bank, operate to avoid tax on the amount as part of the gross estate of decedent, Estate of Harold W. Grant, 1 T. C. 731. See Estate of Henry Wilson, 2 T. C. 1059.*208  Never having contributed any of the joint property or consideration, the surviving tenant may not be treated under section 811 (e) as the owner of any interest in the property.Accordingly, we find no error in the respondent's determination with respect to the transfers in question.Decision will be entered for the respondent.  